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                              United States District Court
                            For The District Of South Dakota
                                      SOUTHERN Division



JESSICA LEE NEWMAN,an individual.
                                                                              4155
                                                               Civ. No. 19-


               Plaintiff,
vs.

                                                                  COMPLAEVT
                                                              AND DEMAND FOR
CITY OF VERMILLION,a South Dakota                                 JURY TRIAL
municipal corporation, VERMILLION
POLICE department,a department
ofthe City of Vermillion, and MATTHEW
BETZEN,an individual, in his official
capacity as Chief ofPolice,

               Defendants.



       Plaintiff Jessica Lee Newman, by and through her undersigned counsel ofrecord, and for

her causes of action against the Defendants, hereby brings this action for gender discrimination,

disparate treatment based upon sex, hostile work environment, retaliation, and other violations of

law, against the Defendant City of Vermillion and against the Defendant Matthew Betzen, in his

Official Capacity as Chief ofPolice ofthe City of Vermillion Police Department:

                                           parties


       1.     Jessica Lee Newman is a female citizen of the United States of America and a


resident of Burbank, Clay County, South Dakota.

       2.     The City of Vermillion ("City") is a municipal corporation organized under the

laws of South Dakota, located within Clay County, South Dakota, and is home to approximately

10,000 residents and the University of South Dakota.




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        3.      The Vermillion Police Department ("Department") was established by the

governing body of the City and charged with exercising the police powers of a municipality

prescribed by SDCL § 9-29-1, et seq., to suppress disorder and keep the peace.

        4.      The Department consists of approximately nineteen swom police officers, all of

whom are employees of the City, located in a building known as the Vermillion/Clay County

Public Safety Center, at 15 Washington Street in Vermillion, South Dakota.

        5.      Defendant Matthew Betzen ("Chief Betzen") is an individual and resident of

Vermillion, Clay County, South Dakota, and at all times material hereto, was and is employed by

the City as Chief ofPolice pursuant to SDCL § 9-29-18, and was and is charged with supervisory

and administrative authority of the Department. Chief Betzen is being sued in his official

capacity.

        6.      At all times material hereto. Plaintiff was and is an "employee" within the

meaning of42 U.S.C. § 2000e(f) and SDCL § 20-13-1(6).

        7.      At all times material hereto, the City and the Department were and are an

"employer" within the meaning of42 U.S.C. § 2000e(b) and SDCL § 20-13-1(7).

        8.      At all times material hereto. Plaintiff was and is a member of a protected class

engaged in protected conduct.

        9.      Plaintiff has exhausted all private, administrative, and judicial prerequisites to the

institution of this action.


        10.     On or about May 1, 2018, Plaintiff filed a Charge of Discrimination with the

South Dakota Division of Human Rights and the U.S. Equal Employment Opportunity

Commission, alleging that the first date of discrimination took place on June 12, 2013, and the

last date of discrimination took place on May 1, 2018.




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        11.      On or about June 6, 2019, the U.S. Department of Justice, Civil Rights Division,

Washington, DC,issued a Notice of Right to Sue Within 90 Days, which Notice was received on

June 10, 2019.

                                     JURISDICTION & VENUE


        12.    This action arises under the "substantive provisions" of Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq., and the South Dakota Human Relations Act of

1972, SDCL § 20-13-1, et seq., to redress the wrongs done to Plaintiff by the Defendants in

subjecting Plaintiff to discrimination on the basis of sex and the "anti-retaliation provisions" of

Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-3(a), and applicable South Dakota

law, which prohibit an employer from discriminating against any employee for engaging in

protected conduct. Additionally Plaintiff seeks damages against the Defendants for their

discrimination because of sex against Plaintiff in violation of 42 U.S.C. § 1983 and the 14'^

Amendment to the Constitution of the United States. This Court has original jurisdiction to hear

this Complaint and to adjudicate the claims stated herein pursuant to 28 U.S.C. § 1331.

       13.     Plaintiff brings additional claims under the South Dakota Human Relations Act,

SDCL § 20-13-1, et seq., and South Dakota common law. Supplemental jurisdiction is proper

for such claims pursuant to 28 U.S.C. § 1367.

       14.     Venue is proper under 28 U.S.C. § 1391 because the events or omissions giving

rise to this action occurred within the Southern Division ofthe District of South Dakota.


                                     FACTUAL ALLEGATIONS


       15.     On or about March 4, 2013, Plaintiff was employed by the City in the Department

as a sworn, uniformed officer assigned to the Patrol Division, and Plaintiff has been continuously

employed as a patrol officer ofthe City and Department continuously since that date.




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        16.    As a patrol officer in the Patrol Division, Plaintiffs duties include wearing the

patrol offieer uniform of the Department, sidearm, duty belt, and badge identification, carrying

out proactive patrols of the community in the Department's blaek and white patrol ears as the

most visible representatives of the Department as well as foot patrols in the downtown area of

the City, responding to calls for service 24 hours a day, 7 days a week ineluding all poliee, fire

and medieal emergencies, traffic and parking enforcement, as well as accident investigations,

criminal investigations, conflict resolution, and community presentations.

        17.    At all times material hereto. Plaintiff was and is the only female patrol officer in

the Patrol Division ofthe Department.

        18.    At all times material hereto, two female persons other than Plaintiff were

employed by the Department, Lt. Crystal Brady ("Lt. Brady"), a deteetive, and Janna Mollet,

administrative assistant to Chief Betzen and to the group identified within the Department as

"Administration."


       19.     At all times material hereto. Chief Betzen, Cpt. Chad Passiek, Lt. Luke

Trowbridge ("Lt. Trowbridge"), and Lt. Brady together eomprised the group identified within

the Department as "Administration."

       20.     At all times material hereto, the sergeants in the Department were and are the

immediate supervisors ofthe patrol officers, including Plaintiff.

       21.     At all times material hereto, Sergeant Ryan Hough ("Sgt. Hough") was Plaintiffs

immediate supervisor.

       22.     At all times material hereto. Plaintiff performed all of her duties in a satisfactory

manner and was and is well-qualified to perform her duties as a patrol officer in the Department.




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        23.     In more than six years as a uniformed patrol offieer, Plaintiff has received

multiple awards and recognitions for her service to the Department and the City.
                                                                                I



        24.     Plaintiff has earned the following academic and professional achievements,

including the following from 2014 to the present:

        a.      South Dakota Law Enforcement Training Academy(February 28,2014);

        b.      Associates Degree in Police Science from Western Iowa Tech Community
                College(2014);

        c.      Crisis Intervention Offieer and Instruetor(March 6,2017);

        d.      Certified National Rifle Association Handgun Instruetor (August 25,
                2017);

        e.      Bachelor's Degree in Criminal Justice from Bellevue University (March
                14, 2018);

        f.      High Threat Engagement Instruetor(September 14, 2018);

        g.      South Dakota Law Enforcement Training Academy Firearms Instruetor
               (September 25,2018);

        h.      Glock Armorer(November 8, 2018); and

        i.      Master's Degree in Justice Administration and Crime Management from
                Bellevue University(October 30,2019 - Anticipated).

        25.     At all times material hereto, officers and employees of the Department of City,

including members of the Administration and Chief Betzen, verbally and physically harassed

Plaintiff and treated her differently on the basis of her female sex, subjected her to a hostile work

environment which was offensive, intimidating, insulting and humiliating to her as a female

patrol offieer, subjected Plaintiff to retaliatory discipline and reprisals when similarly situated

male patrol officers were not disciplined or retaliated against, including increasing intensity and

frequency of unlawful harassment, escalation of harassment and bullying words and behaviors,

all in retaliation for Plaintiffs complaint to her immediate supervisor and the Administration,


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including Chief Betzen, to include, without limitation, withholding of terms and conditions of

employment from Plaintiff that are extended to similarly situated male patrol officers, all of

which are linked to Plaintiffs protected status and protected conduct, and all in violation of

applicable federal and state law.

The Department promotes and tolerates a work environment where Plaintiffs equipment is
vandalized without consequences.

        26.      Shortly after her employment began, Plaintiff noticed that her Department-issued

citation book had been vandalized and made unusable by lacing the pages with graphite, a soft-

metal powder used by the Department and law enforcement in general as a dry lubricant for

police equipment, such as handcuffs.

        27.      Plaintiff reported the incident, but no investigation was undertaken by the

Department to Plaintiffs knowledge, and the person or persons responsible were not identified.

        28.      Male patrol officers did not have their Department-issued ticket books vandalized.

The Department promotes and tolerates a work environment where male patrol officers
comment that the work of a patrol officer is "a man's work" and women are verbally and
graphically depicted in an offensive manner without consequences.

        29.      Male patrol officers regularly engage in a continuous pattern of characterizing the

role of patrol officer as "a man's work" and not for women, including but not limited to the

following specific comments:

        a.       Male patrol officers assert that "female officers are pussies" and "belong in the
                 kitchen";

        b.       Male patrol officers identify a person as a woman with reference to female
                 genitalia as a "sideways taco";

        c.       In a Department-wide email regarding the soiled condition of the Department's
                 restroom floor in which the urinal frequently overflows, questioning whether
                 Plaintiff, as a female, is capable of using the urinal;




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        d.      In a Department text message group regularly used for official Department
                purposes to all patrol officers, including Plaintiff, texting a photo of former
                Playboy model Jenna McCarthy in which her blue hair color is observed and with
                patrol officers posting text messages that stated, "I don't care. Blue hair or not, I
                would still do her," and "Well id be happy as long as her mouth was too busy to
                talk..."[sic]; and
                                                                               /


        e.      In discussions regarding physical training and fitness with a male patrol officer
                who is a member of the same gym as Plaintiff, being told that he likes to position
                himselfin the gym so that he can watch women from behind as they exercise.

The Department promotes and tolerates a work environment where male patrol officers
contrive and circulate rumors and gossip that good working relationships between Plaintiff
and her sergeant supervisors must be the result ofsexualfavors in exchangefor preferential
treatment and Administration investigates Plaintiff to determine if Plaintiff is "more than
friends."

        30.     Male patrol officers of the Department contrived and circulated among others in

the Department false, salacious, malicious, and defamatory information that Plaintiff performs

sexual favors in exchange for preferential treatment fi-om two of the Patrol Division's sergeant

supervisors.

        31.     Rather than taking steps to investigate or even identify those male patrol officers

who contrived and spread these salacious, malicious, and defamatory rumors, the Department

opened an investigation into the conduct of Plaintiff herself, thereby greatly enhancing the

personal and professional damage Plaintiff suffered as a result of the rumors and gossip and

ostensibly confirming them.

       32.      On or about April 22,2014, Lt. Brady requested a breakfast meeting with Plaintiff

at which time Lt. Brady inquired of Plaintiff whether her relationships with two of the sergeants

was "more fnends than what was professional?" and whether Plaintiff was being "coddled" by

the sergeants, to which Plaintiff replied that the relationships were "nothing but professional"

and that Plaintiff"got along well with them."




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       33.     Upon returning to the Department from the breakfast meeting with Lt. Brady, Lt.

Trowbridge approached Plaintiff and advised that he was aware of the meeting with Lt. Brady,

after which Plaintiff told Lt. Brady that she was "not more than fiiends" with anyone in the

Department and that "good co-worker relationships are important."

       34.     The discussions carried out with Plaintiff by the Administration of the

Department marked the beginning, rather than the end, of the Administration inquiring of male

patrol officers whether Plaintiff performed sexual favors in exchange for preferential treatment

from two ofthe Patrol Division's sergeant supervisors.

       35.     These "investigations" into Plaintiffs rumored conduct revealed no evidence of

any misconduct whatsoever, but despite the hostile, offensive, intimidating, and demeaning and

humiliating effects upon Plaintiff and the damage to her personally and professionally, the

Department took no action to investigate those responsible for contriving and circulating the

rumors.



       36.     In addition to applicable federal and state law, the conduct and actions of the male

patrol officers and Administration and Chief Betzen violates the Policy Manual of the City of

Vermillion Police Department in Chapter 3, Section 3, Paragraph VI.A., which ensures the "right

to work in an environment free from hostile, offensive, or intimidating behavior."

       37.     No male patrol officer or other sworn male officer known to Plaintiff has ever

been investigated by Administration for having positive working relationships with his sergeants

or other supervisors due to concerns that these positive relationships can only be explained as

unprofessional relationships involving "more than fiiendship."




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        38.     The hostile, offensive and intimidating environment and the ostracizing of

Plaintiff by similarly situated male patrol officers is consistent with the Department culture that

females "do not belong" as patrol officers in the Department.

        39.     In December 2014, Plaintiff overheard Lt. Trowbridge and Sgt. Hough having a

loud discussion with Sgt. Hough exclaiming aloud in a raised voice,"ridiculous!"

        40.     When Plaintiff joined the discussion, she leamed that Sgt. Ostrem accused Sgt.

Hough of"rubbing elbows with Jess" during a dog injury incident earlier that month. When Sgt.

Hough told Lt. Trowbridge that this was "malicious gossip" and asked what was being done to

stop it or how it could be stopped, Lt. Trowbridge replied, "you should confront people right

away if we hear further gossip."

        41.     As a direct result of this discussion. Plaintiff resolved to thereafter work alone as

a patrol officer as much as possible.

        42.      These malicious rumors and gossip that Plaintiffs relationships with the

sergeants involved "more than fiiendship" continued well into 2017 to include an incident in

which Sgt. Hough was the subject of an internal affairs review over whether he had misused his

authority when he confronted male patrol officers over the "more than fnends" rumors and

gossip and that Plaintiff was given preferential treatment by him.

        43.     On or about July 5, 2017, Plaintiff was interviewed by internal affairs regarding

Sgt. Hough and his use of authority in that incident. Plaintiff summarized the recurrent rumors

and gossip that had been occurring continuously since 2014 and Plaintiff emphasized that Lt.

Trowbridge had encouraged both Plaintiff and Sgt. Hough to confront those persons who spread

this gossip as it occurs.




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        44.    Plaintiff was told in response by internal affairs that the Department does not

"eondone bullying" and that any future bullying eoneems should be reported to Lt. Trowbridge,

and by this time Plaintiff knew that future incidents reported to Lt. Trowbridge would simply be

forwarded to Chief Betzen, who regularly bullied Plaintiff himself.

       45.     Upon information and belief, Sgt. Hough was disciplined and placed on a work

improvement plan, which Plaintiff believes that if true, was in retaliation for Sgt. Hough's efforts

to correct the hostile work environment and sexual harassment targeted against Plaintiff

regarding the "more than fiiendship" issues.

       46.     To Plaintiffs knowledge, none of the male patrol officers responsible for

spreading these false accusations has ever been questioned or disciplined.

The Department promotion process violates its own policies and utilizes subjective criteria
rather than objective criteria in the selection process that has a disparate impact on the
promotion success offemale patrol officers.

       47.     The Policy Manual of the City of Vermillion Police Department provides in

Chapter 4, Section - Promotions, that, "The Department shall promote or assign personnel

strictly on the basis of merit and fitness. Favoritism or discrimination for any cause or reason, or

because ofrace, color, religion, sex, or national origin will not be tolerated."

       48.     On November 2, 2015, and August 3, 2016, Plaintiff was denied promotion to

sergeant with the promotion awarded to a male patrol officer each time.

       49.     On November 2, 2015, after the promotion process had been underway for

approximately six months, male patrol officer Isaac Voss ("Officer Voss") was promoted to

sergeant over Plaintiff. Plaintiff was one of three finalists along with male patrol officer Voss

and male patrol officer Bryan Beringer.




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        50.    Officer Voss and Plaintiff were the patrol officers that carried out the

investigation, arrest and seizure of marijuana, eash, other drugs and drug paraphernalia on June

10, 2014.

        51.    When Plaintiffreported early for duty on November 2, 2015, Plaintiff asked Chief

Betzen about reeeiving some feedback on the promotion process and Plaintiff and Chief Betzen

spoke for approximately a half hour.

        52.    Chief Betzen side-stepped Plaintiffs questions when she inquired about

fiorthering her education, whether the experienee of being a training officer was still as valuable

in the promotion proeess as it once was, and why patrol offieer Voss was the better choice.

       53.     Chief Betzen instead spoke of his own experienees before he was promoted in

Alaska when he worked in law enforcement there. Plaintiff then thanked Chief Betzen for the


meeting and left for the squad room to begin her shift. As Plaintiff departed. Chief Betzen

exclaimed in a loud voiee so that persons in the area eould overhear,"Nobody ean aeeept the faet

that they just didn't make the cut without coming and asking me a million questions." Plaintiff

felt demeaned,intimidated and humiliated by ChiefBetzen's statements.

       54.     On May 22, 2017, Plaintiff heard from the squad room that a poliee radio

elsewhere in the building was emitting a loud and repetitive ehirping sound whieh signifies a low

battery signal. Plaintiff loeated the police radio emitting these sounds and the radio was in a

holder on the door of Chief Betzen's offiee. Chief Betzen was in his office. Plaintiff retrieved a


eharged battery and returned to ask Chief Betzen if she eould swap out his low battery for a

freshly charged one. Chief Betzen snapped at Plaintiff, told Plaintiff that he "liked his battery the

way it was" and that if Plaintiff did not like the sound,"You can leave."




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        55.       Plaintiff replied that she was just trying to be helpful and returned to the squad

room and closed the door. Lt. Trowbridge entered the squad room and found Plaintiff red-faced

and upset and tearful. Plaintiff told Lt. Trowbridge what had happened and that Administrative

Assistant Janna Mollet had witnessed it.


        56.       Plaintiff told Lt. Trowbridge that she did not know who to report this verbal abuse

and intimidation to, as the Chiefis the top ofthe Department's chain of command.

        57.       Lt. Trowbridge replied that he did not know who Plaintiff could report the

incident to. Administrative Assistant Janna Mollet later told Plaintiff she heard Chief Betzen


yelling at her.

        58.       In May 2018, Plaintiff was called to respond to an intoxicated individual who was

acting violently. The individual forcefully resisted arrest, punching Plaintiff in the stomach and

chest. Plaintiff responded with measured and appropriate force, using her taser to subdue the

individual.


        59.       The Department reviewed Plaintiffs use offorce, finding it to be appropriate, and

no more than is necessary under the circumstances. Regardless, Lt. Trowbridge criticized

Plaintiff as being "too emotional" following the incident.

The Department elevates male patrol officers for recognition and reward while ignoring
Plaintiff's equal or greater contributions, evenfor the same conduct

        60.       Where Plaintiff takes substantially similar actions in the same or similar

circumstances, the Department recognizes the male patrol officer's conduct, and ignores

Plaintiff.


        61.       By rewarding male officers, and excluding Plaintiff, the Department adopts and

reinforces the view that men are more capable for employment as patrol officers, and women are

professionally inferior.



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       62.      As previously mentioned, on or about June 10, 2014, Plaintiff and Officer Isaac

Voss responded to a noise complaint that upon investigation by them resulted in a felony arrest,

the seizure of pounds of marijuana, a large amount of cash, and many other drugs and drug

paraphemalia.

       63.      Chief Betzen presented a personalized knife to Officer Voss in Departmental

recognition of his involvement in the investigation, seizure, and arrest, but Plaintiff was not

recognized and received nothing for her involvement.

       64.      Plaintiff was told by Sgt. Hough that he authored a congratulatory email to

Plaintiff to Administration and recommended that Plaintiff receive a couple of boxes of practice

ammunition in recognition of her contributions to the investigation, seizure, and arrest with

Officer Voss, which is a gesture commonly given as a "job well done" within the Department.

       65.      Sgt. Hough subsequently told Plaintiff that the suggested offer of practice

ammunition was refused by Administration, but told Plaintiff that the congratulatory email could

be placed in Plaintiffs "anecdotal file" that each patrol officer maintains within the Department

to preserve a record of that officer's special recognition from the Department or the public. A

true and correct copy of the congratulatory email from Sgt. Hough to Lt. Trowbridge of

Administration is attached hereto as Exhibit 1 and incorporated herein by this reference.

       66.      Unlike Officer Voss, the Department's similarly situated male patrol officer.

Plaintiff received nothing in the way of Department recognition of her equal role in the

investigation, seizure, and arrest on June 10, 2014, and even the request of her immediate

supervisor that Plaintiff receive two boxes of practice ammunition as a "job well done" gesture

was denied.




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       67.     When Officer Voss thereafter inquired of Plaintiff whether she had "gotten her

ammo," Plaintiff could only respond in the negative, that Sgt. Hough's recommendation was not

authorized.


       68.     On or about December 11, 2014, Plaintiff received a letter of recognition fi-om a

dog owner whose pet was struck by a motor vehicle that fled the scene after injuring the dog.

Despite Plaintiffs assistance at the scene and efforts to arrange emergency veterinary care, the

dog was ultimately euthanized. The owner sent an email to Chief Betzen commending Plaintiffs

assistance.


       69.     Plaintiff assumed that a copy of this email would be filed in Plaintiffs anecdotal

file within the Department and when Plaintiff later discovered that it was not. Plaintiff was told it

was "an accident" but that "it is there now."


Plaintiff is assigned tasks that similarly situated male patrol officers are not assigned, on the
basis ofherfemale sex.

       70.     During the summer of 2016, Chief Betzen and other supervisors assigned tasks to

Plaintiff that are consistent with the custom or policy in the Department to view women in a

subservient role to men and the view that law enforcement is a "man's job." These tasks included

vacuuming hallways and offices, sweeping rooms, cleaning bathrooms and toilets, and other

cleaning and custodial duties.

       71.     No male patrol officer to Plaintiffs knowledge has been assigned such tasks

under the same or similar circumstances.


       72.     From the end of May 2016, to September 12, 2016, Plaintiff was recovering from

a work-related shoulder injury. After surgery, the orthopedic surgeon issued orders for desk duty

only until cleared to retum to normal duty, which occurred on September 12, 2016. Desk duty




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was less physically demanding than sedentary work, where one may be expected to lift up to ten

pounds.

       73.     Although restricted to desk duty, Chief Betzen, Lt. Trowbridge, and Lt. Brady

engaged in the following;

       a.      On July 6, 2016, Chief Betzen ordered Plaintiff to collect a box of prescription
               medications that weighed more than thirty pounds when the lifting restriction was
               not more than five pounds.

       b.      On July 8, 2016, Lt. Brady ordered Plaintiff to go to Walmart and purchase
               several cases of Gatorade for the active shooter training which violated the lifting
               restriction.


       c.      On July 14, 2016, Plaintiff had an orthopedic appointment in Sioux Falls, for the
               work-related shoulder injury that occurred at the law enforcement academy
               training on defensive tactics, and while Plaintiff walked by his office. Chief
               Betzen pointed at Plaintiff and made it clear to Plaintiff and the male patrol
               officers and co-workers that Chief Betzen resented Plaintiffs injury and work
               restrictions, commenting that Plaintiff is a liability to the Department, and told
               Plaintiff and the others present that he intended to incorporate a "safety officer"
               into the Department, to prevent "horseplay," like the kind that led to Plaintiffs
               injuries "because we're paying for it now."

       d.      On July 18, 2016, Lt. Brady ordered Plaintiff to vacuum and sweep the Public
               Safety Center and check the restrooms and toilets for cleanliness. She told
               Plaintiff that this order was issued by Chief Betzen.

       e.      On August 30, 2016, Chief Betzen ordered Plaintiff to gather up and haul from
               the Public Safety Center a number of ceiling tiles that had fallen from the
               basement ceiling of the Public Safety Center after becoming saturated when a
               water pipe burst, and Chief Betzen told Plaintiff that she "might need a shovel."

       f.      After Plaintiff removed the ceiling tiles and cleaned up. Plaintiff learned that a
               male patrol officer had earlier been given the same order from Chief Betzen but
               that male patrol officer was allowed to refuse the task while expressing concern
               that the ceiling tiles contained asbestos.

       g.      On September 7, 2016, Lt. Brady ordered Plaintiff to collect two urine samples
               from the University Police Department of the University of South Dakota and Lt.
               Brady told Plaintiff that this was Chief Betzen's order and that, "If a boss tells
               you to do something, you can just do it."




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The Department treats Plaintiff differently than similarly situated male patrol officers with
respect to uniforms

       74.     The Policy Manual of the City of Vermillion Police Department provides in

Chapter 3, Section 3 - Compensation, Benefits and Conditions of Work,Paragraph IV Uniforms

and Equipment that, "covered sworn personnel will be issued the necessary uniforms and

equipment to perform the duties of a police officer ..

       75.     The Policy Manual of the City of Vermillion Police Department further provides

in Chapter 3, Section 10, Sexual Harassment and Sexual Discrimination, Paragraph I.D. prohibits

"The disparate treatment of an employee with respect to work benefits, conditions, assignments,

promotions etc. based upon the gender ofthe employees."

       76.     Patrol officers are issued three pairs of trousers as part of the uniform of a patrol

officer. Following a weight loss program. Plaintiff was issued new pairs oftrousers.

       77.     On March 19, 2015, Plaintiff brought a pair of patrol officer trousers to

Administrative Assistant Janna Mollet for repair of a broken zipper. Administrative Assistant

Mollet told Plaintiff that she would take the pants to University Cleaners for repair by the

Department, but subsequently emailed Plaintiff that the Department would not pay for the repair

and asked Plaintiff if she wanted to have them repaired at Plaintiffs expense. A true and correct

copy ofthe email is attached hereto as Exhibit 2 and incorporated herein by this reference.

       78.     Plaintiff later asked Administrative Assistant Mollet why the Department would

not cover the repair cost and she replied that^he was uncertain but that during her lunch break

she told Chief Betzen of her plans to drop off Plaintiffs trousers at University Cleaners over her

lunch break for the repair, in response to which Chief Betzen exclaimed, "We're not fucking

paying for that."




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        79.      During this same time, male patrol officer Jonathan Warner returned from light

duty to regular duty work and two entire uniforms were purchased for him as he had gained

weight and his uniforms no longer fit.

Collusive efforts by male patrol officers to exclude and ostracize Plaintiff on the basis of
gender,female.

        80.      Plaintiff has also been the subject of a collusive shift-bidding effort to preclude

her from receiving her desired shifts.

        81.      This collusive practice is intended to send a message that she is unwelcome in the

Department on the basis of her female sex.

        82.      The Department arranges shifts by soliciting officer "bids" for desired shifts.

        83.      Plaintiff submitted bids for her preferred shift, the evening/night shift.

        84.      After a group of patrol officers arranged their bids so that Plaintiff would not

receive her desired shifts. Plaintiff was told it was done in order to send a message and "break up

her happy group" in reference to the previously described false and malicious rumors that

Plaintiff engages in quid pro quo sex for preferential treatments by sergeant supervisors.

        85.      Plaintiff complained to the Department, which conducted an "investigation" and

found the shift bidding was not discriminatory.

        86.      As a result of the discrimination and hostile work environment Plaintiff faces at

the Department, she is often compelled to ride patrol shifts alone, or to arrange her schedule in

such a manner that she is least likely to suffer continued discrimination and harassment.

        87.      As a direct result. Plaintiff is denied the ability to apply for available overtime

shifts, and Plaintiff suffers loss of overtime pay and benefits that she would otherwise obtain in a

work environment that is not hostile and is non-discriminatory.




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Department policy regarding the use of changing and locker room facilities is unequal and
discriminates againstfemale patrol officers on the basis ofsex.

       88.     The Department maintains a locker room that was, and is, used for changing into

duty clothes from civilian clothing, and where each patrol officer is assigned a personal locker.

       89.     An informal policy adhered to by the Patrol Division of the Department is that

patrol officers do not drive personally owned vehicles while in uniform.

       90.     This policy requires patrol officers to transport their duty weapon and

Department-issued gear and uniform to the Vermillion/Clay County Public Safety Center, at 15

Washington Street in Vermillion, South Dakota, or to leave these items in their personal locker.

       91.     The locker room is designed and configured in form and function as a locker

room, with a permanently fixed bench in the middle of the room, the personal lockers affixed to

the walls, a boot polisher in the comer of the room, and a separate weapons locker for

Department firearms.

       92.     Male patrol officers use the facilities to remove their civilian clothing down to the

underwear in order to change into the patrol officer uniform for duty, and the reverse practice is

followed when male patrol officers remove their patrol officer uniform and change into civilian

clothing when off-duty.

       93.     Plaintiff, as the only female patrol officer, would use the locker room to change

into her patrol officer uniform for duty, and place a sticky note on the door indicating "lady

occupied, be out in five minutes."

       94.     Upon seeing the sticky note, Chief Betzen removed Plaintiffs sticky note and

announced in a loud voice that the practice ofPlaintiff posting a sticky note was forbidden.




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       95.     Upon information and belief, Chief Betzen objected to the practice based on his

individual perception, and not based on complaints or objections by male patrol officers, or other

persons accessing or using the locker room.

       96.     Thereafter, Chief Betzen issued a policy directive that all patrol officers must

change in the adjacent bathroom.

       97.     Since the summer of 2014, and continuing to the present. Plaintiff has been

required to either dress and undress in the locker room without any privacy, or utilize the

adjacent bathroom which is often soiled and unsanitary, and does not offer the space or

convenience to change that is offered by the locker room itself, in addition to requiring Plaintiff

and the male patrol officers who would adhere to this policy, to transport their duty sidearm and

duty belt into the adjacent bathroom, or a restroom in another part of the building which is an

unsecured area.


       98.     As a result, the policy directive to change only in the bathroom is openly and

flagrantly ignored by the male patrol officers who continue use the locker room as a dressing and

undressing room as before.

       99.     Supervisors and the Administration are aware that male patrol officers flagrantly

ignore Chief Betzen's directive, which is only enforced against Plaintiff.

       100.    Department policy regarding its locker room is discriminatory, and subjects

Plaintiffto the use of unsafe, unsanitary, and imdesirable changing facilities.

       101.    Despite being made aware of the discriminatory effect the locker room policy

had. Chief Betzen took no corrective action to ensure both male and female officers have equal

access and use ofthe facilities.




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       102.    On August 16, 2017, Plaintiff submitted a written complaint to the City of

Vermillion regarding the sex discrimination and hostile work environment occurring against

Plaintiff within the Department. The complaint was addressed to Vermillion City Manager John

Prescott.


       103.    By letter dated September 13, 2017, from Vermillion City Manager John Prescott,

all of the matters raised in Plaintiffs complaint letter of August 16, 2017, are denied, with the

exception of the locker room usage, which the City Manager determined should be available for

Plaintiffs use as well as the male patrol officers, with female/male in use signage being placed

on the door for privacy. A true and correct copy of City Manager John Prescott's letter, dated

September 13, 2017, is attached hereto as Exhibit 3 and incorporated herein by this reference.

       104.    The Policy Manual of the City of Vermillion Police Department. Chapter 3,

Section 3 - Compensation, Benefits and Conditions of Work, specifically Paragraph VI.D.

provides supervisory duties on the "Chief of Police or City Manager" regarding violations of the

Equal Employment Opportunity (EEO)/Sexual Harassment rights of all employees of the

Department.

       105.    In an email, dated September 28, 2017, Chief Betzen overruled the City

Manager's determination by letter of September 13, 2017, that upheld Plaintiffs complaint that

no legitimate reasons exist to deny Plaintiff the use of the Department locker room. A true and

correct copy of the email, dated September 28, 2017, from Chief Betzen overruling the City

Manager's determination is attached as Exhibit 4 and incorporated herein by this reference.

       106.    Immediately after Chief Betzen issued the reaffirmed policy. Plaintiff was

ostracized and harassed by male patrol officers, who blamed Plaintiff for the loss of changing




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privileges in the locker room, and Plaintiffs lunch container with her name was removed from

her squad room workstation and thrown in the trash.

The Department denied Plaintiff advancement on the basis of sex, and upon anticipating
Plaintiff would be the objectively most-qualified candidate, removed objective promotion
criteria to mask discriminatory decisions.

        107.     In June 2015, Plaintiff applied for an open sergeant position within the

department.

        108.     There was rigorous testing and an exam process which included a physical and

written test.


        109.     Plaintiff was the highest ranked candidate in the knowledge, skills, and abilities

written test. Plaintiff was the second highest ranked candidate in the physical test.

        110.     Without additional explanation. Officer Voss, a male officer, was promoted to

sergeant.

        111.     Plaintiff again applied for another sergeant position in August 2016.

        112.     During the 2016 promotions process, however, the evaluation criteria had

dramatically changed, eliminating nearly all forms of objective criteria, and replacing them with

subjective processes such as an oral examination, and written essays. The fitness tests and

written exams were eliminated.


        113.     Candidates were instructed to provide the panel with any letters of

recommendation or other materials that the candidate wished them to consider. Plaintiff provided

four letters of recommendation to Chief Betzen, and a copy of each letter for each panelist.

Following the interview. Plaintiff learned that Chief Betzen did not provide these letters of

recommendation to the panel.




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        114.     Plaintiff was again denied the promotion to sergeant.

        115.     Denial of promotion causes Plaintiff loss of income, and loss of professional

status that accompanies being twice denied a promotion.

The Department has subjected Plaintiff to unlawful retaliation for her efforts to report and
correct unlawful discrimination.

        116.     The Department has taken unlawful retaliatory actions against Plaintiff due to her

reporting of ongoing discrimination and harassment.

        117.     Plaintiffs 2013 aimual evaluation noted that she "Exceeds performance standards

for the job frequently" in the areas of(1) proactive patrol efforts,(2) quality of work,(3) Work

relationship with co-workers and other departments, and (4) work relationships with public and

others. In addition to exceeding expectations in those areas. Plaintiff met performance standards

in every other evaluated category.

        118.     Plaintiffs 2014 annual evaluation similarly noted that Plaintiff "exceeds

performance standards for the job frequently" in the areas of(1)job knowledge and expertise,(2)

proactive patrol efforts, (3) quality of work,(4) work relationships with public and others, and

(5)continuing education or career development.

        119.     Plaintiffs 2015 aimual evaluation notes that she "Exceeds performance standards

for the job frequently" in nine of eleven evaluation categories, that she "far exceeds performance

standards for the job consistently" in terms of her quality of work, and in the eleventh category,

she "meets performance standards for the job" in terms of proactive patrol efforts.

        120.     Overall, in 2015, Plaintiffs annual evaluation rated Plaintiff as "Exceeds

performance standards for the job frequently."




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        121.     Plaintiffs 2016 annual evaluation was similarly excellent, indicating that she

meets all performance standards for the job required, and in many categories exceeds or far

exceeds applicable standards.

        122.     In 2017, Plaintiff submitted a formal complaint to the City of Vermillion

regarding the discrimination and hostile work environment within the Police Department. No

action was taken based on the concerns noted by Plaintiff.

        123.     However, in 2017, Plaintiff received lower scores on her 2017 evaluations than

she had ever received in the areas of"work relationship with co-workers and other departments,"

of which she received a "2" on a scale of 1 through 5, indicating that she "Meets performance

standards frequently but needs improvement."

        124.     Following the negative evaluation. Plaintiff submitted an addendum that objects

to the low rating as retaliatory for her submission of a discrimination complaint.

        125.     After submitting the addendum. Plaintiff was called to a meeting with her direct

supervisor, Sgt. Hough, as well as Lt. Trowbridge and Lt. Brady.

        126.     At the meeting. Plaintiff stated that she interpreted the low rating as retaliatory,

and that she has never received such a low rating in this category before. Lt. Trowbridge

responded by stating "maybe [Plaintiff] needs to be given more such low ratings so it isn't such a

surprise when one shows up on [Plaintiffs] evaluation."

        127.     Annual evaluations are an important criteria used in evaluating a candidates

suitability for advancement within the Department.

        128.     Law enforcement is a profession in which team-work is essential, and a negative

evaluation in this area is rmiquely harmful to a patrol officer's current and future employment

prospects.




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        129.       Several months after Plaintiffs' complaint charging harassment and discrimination

was filed with the City, Plaintiff was removed from duty as a firearms instructor training new

patrol officers.

        130.       Training new patrol officers increases a patrol officer's pay, and heing a training

officer within the Department speaks highly ofthe training officer's knowledge, and status within

the Department.

        131.       Plaintiff was told she was "too inexperienced," and a male patrol officer was

assigned to conduct the training, even though Plaintiff possessed equal or greater knowledge and

experience in firearms training.

        132.       In or around the same period of time, a second male patrol who received firearms

instructor training during the same week as Plaintiff was allowed to provide firearms training to

other male patrol officers in the Department.

        133.       Preventing Plaintiff from conducting officer training was retaliatory and in

response to her submission of a complaint to the City of Vermillion.

        134.       On or about January 24, 2018, Plaintiff met with Lt. Trowhridge, Lt. Brady and

Sgt. Hough where Plaintiff detailed the sex discrimination, sexual harassment, hostile work

environment, and retaliation for reporting that Plaintiff is subjected to in the Department, and

shared the continuing fiustration that no meaningful investigative or corrective action is ever

taken in regards to any of her complaints. Lt. Trowhridge told Plaintiff, that "you bring the

harassment upon yourself because of your personality," and dismissed the behavior complained

of as inappropriate, but not constituting sexual harassment.

        135.       Rather than investigating the basis for Plaintiffs complaint, Lt. Brady and Lt.

Trowhridge attempted to intimidate Plaintiff and coerce her into withdrawing her Charge.




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        136.   Lt. Brady stated during the meeting that Plaintiff "brings the harassment upon

herself because of[Plaintiffs] personality."

        137.   On or about February 14, 2018, during a meeting with Cpt. Chad Pasick of the

Department, Plaintiff was told regarding the hostile work environment in the Department that,

"There is no Department policy against acting like a child or being a dick."

        138.   All Department officers are required to complete sexual harassment training.

However, Chief Betzen, Cpt. Chad Passick, and Lt. Brady, all in supervisory positions within the

Administration of the Department, have not completed this training, to the best of Plaintiffs

knowledge, and as reflected by the lack of their signatures on a posted signup sheet on which

employees indicate completion ofthe training.

        139.   The disregard of their participation in this required program sums up the culture

in the Department that equal treatment, equal opportunity, and freedom from workplace hostility

and sex discrimination are not values upheld by the Department and the City.

                                           COUNT 1
                                      (City of Vermininnl
                                Sex Discrimination in Violation of
                            Title VII of the Civil Rights Act of 1964

       140.    Plaintiffincorporates the foregoing paragraphs by reference.

       141.    42 U.S.C. § 2000e-2(a)(l) provides that it is unlawful for an employer "to fail or

refuse to hire or to discharge any individual, or to otherwise discriminate against any individual

with respect to [her] compensation, terms, conditions, or privileges of employment, because of

such individual's ... sex[.]"

       142.    Defendant's conduct described herein violates 42 U.S.C. § 2000e-2.

       143.    As a result of Defendant's conduct. Plaintiff has suffered and will continue to




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suffer past and present loss of ineome, mental anguish, emotional distress, humiliation,

embarrassment, loss ofreputation and other damages in an amount in exeess of$75,000. Plaintiff

is also entitled to attorneys' fees and costs incurred in connection with this claim.

                                              COUNT 2
                                        (City of Vermillinni
                        Retaliation/Reprisal Discrimination in Violation of
                              Title VII of the CivU Rights Act of 1964

        144.     Plaintiffincorporates the foregoing paragraphs by reference.

        145.     Title VII, 42 U.S.C. § 2000e-3(a) provides in part that it is an unlawful

employment practice for an "employer to discriminate against any of his employees or applicants

for employment" or "to discriminate against any individual" "because he has opposed any

practice made an unlawful employment practice by this subchapter, or because he has made a

charge, testified, assisted, or participated in any manner in an investigation, proceeding, or

hearing under this subchapter."

        146.     Plaintiff was discriminated against and penalized for submitting a formal

complaint against the harassment and discrimination she faces in violation of42 U.S.C. § 2000e-

3. Following the submission of her formal complaint, and in further violation of Title VII, the

Defendant retaliated against Plaintiff by attempting to intimidate her into retracting the basis of

her complaints against the Defendant, penalizing her by removing her from job duties, and

assigning those duties to male patrol officers, and providing her with negative reviews and

remarks on her annual evaluation.


        147.     As a direct and proximate result of Defendant's unlawful conduct. Plaintiff has

suffered loss of past and future ineome and employee benefits, mental anguish, emotional

distress, humiliation, embarrassment, loss ofreputation, and other damages in exeess of$75,000.

        148.     Plaintiffis entitled to attomeys' fees and costs in connection with this claim.



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                                           COUNT 3
                                       (City of Vermillnnl
                      Retaliation/Reprisal Discrimination in Violation of
                            The South Dakota Human Relations Act


        149.   Plaintiffincorporates the foregoing paragraphs by reference.

        150.   The South Dakota Human Relations Act of 1972 makes it an unfair or


discriminatory practice to engage in any reprisal, economic or otherwise, against a person by

reason of his or her protected activity. SDCL § 20-13-26.

       151.    Defendant's conduct described herein, including its treatment toward Plaintiff, her

demotion, and retaliation that follows, violates SDCL § 20-13-26.

       152.    Following her submission of a formal complaint against the Defendant, the

Defendant retaliated against Plaintiff by attempting to intimidate her into retracting the basis of

her complaints against the Defendant, penalizing her by removing her from job duties and

assigning those duties to male patrol officers, and providing her with negative reviews and

remarks on her annual evaluation.


       153.    As a result of Defendant's violations. Plaintiff has suffered and will continue to

suffer damages, including past and present loss of income, mental anguish, emotional distress,

humiliation, embarrassment, loss of reputation and other damages.

                                           COUNT4
                                       (Citv of Vermillionl
                                Sex Discrimination in Violation of
                            The South Dakota Human Relations Act


       154.    Plaintiffincorporates the foregoing paragraphs by reference.

       155.    The South Dakota Human Relations Act of 1972 makes it an unfair or


discriminatory practice to discriminate against, or harass an employee on the basis of sex. SDCL

§20-13-10.




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        156.   Defendant's conduct described herein violates SDCL § 20-13-10.

        157.   As a result of Defendant's violations, Plaintiff has suffered and will continue to

suffer damages, including past and present loss of income, mental anguish, emotional distress,

humiliation, embarrassment, loss ofreputation and other damages.

                                            COUNTS
                                         (Chief Betzen)
                                        42 U.S.C.§ 1983

        158.   Plaintiffincorporates the foregoing paragraphs by reference.

        159.   Chief Betzen, acting under color of state law, deliberately acted against Plaintiff

as set forth ahove because of her gender, female, causing her to be deprived of her rights secured

by the Constitution and laws ofthe United States.

        160.   The actions, policies and practices complained of were in violation of42 U.S.C. §

1983 in that they have denied Plaintiff of her rights secured hy Title VII of the Civil Rights Act

of 1964, as well as equal protection of the law secured by the Fourteenth Amendment to the

United States Constitution.


        161.   The actions complained of herein were made by those with final policy-making

authority and/or approved by those with final policy-making authority within the Department as

part of a deliberate policy of discrimination against female patrol officers, and thereafter to

retaliate against such female officers when they complained about this illegal discrimination.

        162.   Due to Defendant's actions. Plaintiff has suffered damage to her career and

reputation, emotional pain, suffering, inconvenience, mental anguish, loss of enjoyment of life,

humiliation and stress.




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         163.    The discriminatory acts of the individual Defendant as set forth above were

willful, deliberate, malicious, and done with gross and reckless indifference to the federally

protected rights ofPlaintiff.

                                     PRAYER FOR RELIEF


        WHEREFORE,Plaintiff Jessica Lee Newman prays for judgment against Defendants as

follows:


         1.      That the conduct and actions complained of in this Complaint be
                 determined to violate the rights secured to Plaintiff under Title VII, the
                 South Dakota Human Relations Act, 42 U.S.C. § 1983, and South Dakota
                 common law;

        2.       For all relief ava.ilable to Plaintiff, including compensatory relief and
                 damages arising from loss of past and future income, benefits,
                 inconvenience, mental anguish, loss of enjoyment of life, humiliation and
                 stress, and other damages, with prejudgment interest, in an amoimt in
                 excess of$75,000;

        3.       For punitive damages as allowed by law;

        4.       For Plaintiffs attomeys' fees, costs and disbursements incurred herein;
                 and


        5.       For such further, other and additional relief as the Court deems equitable
                 and just.

        Dated at Sioux Falls, South Dakota, on this 6th day of September,2019.

                                                       cs Law Office




                                                   R. Hughes fiohn        eslawvers.com)
                                                lart J. Hughes(stuart@liugheslawers.com')
                                              101 North Phillips Avenue- Suite 601
                                              Sioux Falls, South Dakota 57104-6734
                                              Telephone;(605)339-3939
                                              Facsimile:(605)339-3940

                                              Attorneysfor Plaintiff




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                                     DEMAND FOR JURY TRIAL


        Plaintiff demands trial byjury on all issues so triable in the above-captioned action.




                                              Jc^ R. Hughes




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 purpose of mitiatmg the civil docket sheet. (SEEINSTRUCTIONS ON NEXTPAGE OF THISFORM)                                                                                 uiuiiuruie
I. (a) PLAINTIFFS                                                                                               DEFENDANTS
 Jessica Lee Newman                                                                                           City of Vermillion, Vermillion Police Department and Matthew Betzen

    (b) County of Residence ofFirst Listed Plaintiff                 Clay County                                County of Residence of First Listed Defendant                 Clay County
                                 (EXCEPTIN U.S PLAINTIFF CASES)                                                                                (IN US PLAINTIFF CASES ONLY)
                                                                                                                NOTE-      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
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    John  R. Hughes(Firmand
                         Name, Address,
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                                                     Hughes Law Office
                                                                                                                Attorneys (IfKnown)
                                                                                                             Lisa K. Marso of Boyce Law Firm, LLP
    101 North Phillips Avenue -Suite 601, Sioux Falls, SD 57104                                              300 South Main Avenue, Sioux Falls, SD 57104
    (605)339-3939                                                                                            (605)336-2424
n. BASIS OF JURISDICTION (Place an "X"m One Box Only)                                             III. CITIZENSfflP OF PRINCIPAL PARTIES (Place an "X"mOneBoxforPlamUff
                                                                                                           (For Diversity Cases Only)                                             and One Boxfor Defendant)
O 1     U.S Government                      3 Federal Question                                                                         PTE        DEE                                               PTE        DEE
           Plaintiff                            (U.S Government Not a Party)                          Citizen ofThis State             □ 1        0 1 Incorporated or Principal Place                 0 4      0 4
                                                                                                                                                              of Business In This State

O 2     U.S Government                 □ 4 Diversity                                                  Citizen of Another State         O 2        O   2     Incorporated and Pnncipal Place          □ 5       0 5
           Defendant                             (Indicate Citizenship ofParties in ItemIII)                                                                  of Business In Another State

                                                                                                      Citizen or Subject of a          O 3        0 3       Foreign Nation                           □ 6       O 6
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IV. NATURE OF SUIT (P/ooe an "X" in One Box Only)                                                                                                  CUck here for; Nature of Suit Code Descrigti
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    110 Insurance                          PERSONAL INJURY               PERSONAL INJURY              □ 625 Drug Related Seizure             a 422 Appeal 28 use 158             □ 375 False Claims Act
    120 Marine                       □ 310 Airplane                   O 365 Personal Injury -               of Property 21 USC 881           □ 423 Withdrawal                    □ 376QuiTam(31 USC
    130 Miller Act                   □ 315 Airplane Product                 Product Liability         □ 690 Other                                   28 USC 157                        3729(a))
    140 Negotiable Instrument              Liability                  □ 367 Health Care/                                                                                         □ 400 State Reapportionment
    150 Recoveiy of Overpayment      □ 320 Assault, Libel &                  Pharmaceutical                                                  II PROPERTiVi^RIGHTS L              □ 410 Antitrust
        & Enforcement of Judgment             Slander                        Personal Injury                                                 D 820 Copyrights                    □ 430 Banks and Banking
    151 Medicare Act                 □ 330 Federal Employers'                Product Liability                                               □ 830 Patent                        □ 450 Commerce
    152 Recovery of Defaulted              Liability                  □ 368 Asbestos Personal                                                □ 835 Patent - Abbreviated          □ 460 Deportation
        Student Loans                O 340 Manne                              Injury Product                                                       New Drug Application          □ 470 Racketeer Influenced and
        (Excludes Veterans)          O 345 Manne Product                      Liability                                                      O 840 Trademark                           Corrupt Organizations
    153 Recoveiy of Overpayment               Liability                 PERSONAL PROPERTY                          LABOR.                       SOeiADSECURITY                   □ 480 Consumer Credit
        of Veteran's Benefits        □ 350 Motor Vehicle              □ 370 Other Fraud               □ 710 Fair Labor Standards             □ 861 HIA (1395ff)                  □ 485 Telephone Consumer
    160 Stockholders' Suits          □ 355 Motor Vehicle ■            D 371 Truth in Lending                 Act                             □ 862 Black Lung (923)                       Protection Act
    190 Other Contract                       Product Liability        □ 380 Other Personal            □ 720 Labor/Management                 □ 863 DIWC/DIWW (405(g))          □ 490 Cable/Sat TV
    195 Contract Product Liability   O 360 Other Personal                   Property Damage                  Relations                       □ 864 SSID Title XVI              □ 850 Secunties/Commodities/
    196 Franchise                          Injury                     □ 385 Property Damage           □ 740 Railway Labor Act                □ 865 RSI (405(g))                      Exchange
                                     □ 362 Personal Injury -                Product Liability         □ 751 Family and Medical                                                 □ 890 Other Statutory Actions
                                             Medical Malpractice                                             Leave Act                                                         O 891 Agricultural Acts
E     iREAL PROPERTY                       > CIVIL RIGHTS/ ;/          PRISONER PETITIONS             □ 790 Other Labor Litigation              FEDERALtTAX SUITS-/ h □ 893 Environmental Matters
□ 210 Land Condemnation              O 440 Other Civil Rights            Habeas Corpus:               □ 791 Employee Retirement              □ 870 Taxes (U S Plaintiff        □ 895 Freedom of Information
□ 220 Foreclosure                    O 441 Voting                     □ 463 Alien Detainee                  Income Secunty Act                      or Defendant)                         Act
O 230 Rent Lease & Ejectment         ^ 442 Employment                 □ 510 Motions to Vacate                                                □ 871 IRS—Third Party             □ 896 Arbitration
O 240 Torts to Land                  □ 443 Housing/                          Sentence                                                               26 USC 7609                □ 899 Administrative Procedure
□ 245 Tort Product Liability                 Accommodations           □ 530 General                                                                                                    Act/Review or Appeal of
□ 290 All Other Real Property        □ 445 Amer w/Disabihties •       O 535 Death Penalty                   ^ IMMIGRATION J                                                            Agency Decision
                                             Employment                  Other:                       □ 462 Naturalization Application                                        □ 950 Constitutionality of
                                     □ 446 Amer w/Disabihties •       □ 540 Mandamus & Other          □ 465 Other Immigration                                                             State Statutes
                                             Other                    □ 550 Civil Rights                     Actions
                                     □ 448 Education                  □ 555 Prison Condition
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V. ORIGIN (Place an "X" m One Box Only)
X1 Original    □ 2 Removed fi-om                           □ 3       Remanded fi*om              □ 4 Reinstated or       O 5 Transferred fi:om            □ 6 Multidistrict                □      Multidistnct
       Proceeding               State Court                          Appellate Court                  Reopened                   Another District                 Litigation -                    Litigation -
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                                           Cite the U S. Civil Statute under which you are filing (Do not citeJurisdictional statutes unless diversity)'.
                                            42 USC Section 2000e, et seq., 42 USC Section 1983
VI. CAUSE OF ACTION
                                           Brief description of cause.
                                            Employment discrimination on basis of sex and denial of civil rights
Vn. REQUESTED IN                               CHECK IF THIS IS A CLASS ACTION                          DEMANDS                                       CHECK YES only if demanded m complaint
        COMPLAINT:                             UNDER RULE 23, F.R.Cv P.                                                                               JURY DEMAND:        M Yes      DNo
Vm. RELATED CASE(S)
                                              (See instructions)
        IF ANY                                                       JUDGE                                                                     DOCKET NUMBER

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FOR OBFICE USE ONLY
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    RECEIPT#                    AMOUNT                                       APPLYING IFF                                    JUDGE                                MAG JUDGE
